Case 1:21-cv-00280-RC Document 9-2 Filed 02/05/21 Page 1 of 3




              EXHIBIT B
                                                                      Case 1:21-cv-00280-RC Document 9-2 Filed 02/05/21 Page 2 of 3
                                                                                                                                                                               4875

                                               Federal Register                                    Presidential Documents
                                               Vol. 86, No. 11

                                               Tuesday, January 19, 2021



                                               Title 3—                                            Executive Order 13974 of January 13, 2021

                                               The President                                       Amending Executive Order 13959—Addressing the Threat
                                                                                                   From Securities Investments That Finance Communist Chi-
                                                                                                   nese Military Companies

                                                                                                   By the authority vested in me as President by the Constitution and the
                                                                                                   laws of the United States of America, including the International Emergency
                                                                                                   Economic Powers Act (50 U.S.C. 1701 et seq.), the National Emergencies
                                                                                                   Act (50 U.S.C. 1601 et seq.), and section 301 of title 3, United States
                                                                                                   Code,
                                                                                                   I, DONALD J. TRUMP, President of the United States of America, in order
                                                                                                   to take additional steps with respect to the national emergency declared
                                                                                                   in Executive Order 13959 of November 12, 2020 (Addressing the Threat
                                                                                                   from Securities Investments that Finance Communist Chinese Military Com-
                                                                                                   panies), to address the threat posed by the People’s Republic of China’s
                                                                                                   military-industrial complex, hereby order as follows:
                                                                                                   Section 1. Section 1(b) and (c) of Executive Order 13959 are amended
                                                                                                   to read as follows:
                                                                                                     ‘‘(b) Notwithstanding subsection (a)(i) of this section, any transaction en-
                                                                                                   tered into on or before 11:59 p.m. eastern standard time on November
                                                                                                   11, 2021, solely to divest, in whole or in part, from securities that any
                                                                                                   United States person held as of 9:30 a.m. eastern standard time on January
                                                                                                   11, 2021, in a Communist Chinese military company as defined in section
                                                                                                   4(a)(i) of this order, is permitted. Effective at 11:59 p.m. eastern standard
                                                                                                   time on November 11, 2021, possession of any such securities by a United
                                                                                                   States person is prohibited.
                                                                                                     (c) Notwithstanding subsection (a)(ii) of this section, for a person deter-
                                                                                                   mined to be a Communist Chinese military company pursuant to section
                                                                                                   4(a)(ii) or (iii) of this order, any transaction entered into on or before 365
                                                                                                   days from the date of such determination, solely to divest, in whole or
                                                                                                   in part, from securities that any United States person held in such person,
                                                                                                   as of the date 60 days from the date of such determination, is permitted.
                                                                                                   Effective at 11:59 p.m. eastern standard time on the date 365 days after
                                                                                                   the date of such determination, possession of any such securities by a
                                                                                                   United States person is prohibited.’’
                                                                                                   Sec. 2. Subsections (a)(ii) and (iii) of section 4 of Executive Order 13959
                                                                                                   are amended to read as follows:
                                                                                                     ‘‘(ii) any person that the Secretary of Defense, in consultation with the
                                                                                                     Secretary of the Treasury, publicly lists as a Communist Chinese military
                                                                                                     company meeting the criteria in section 1237(b)(4)(B) of Public Law 105–
                                                                                                     261, as amended by section 1233 of Public Law 106–398 and section
                                                                                                     1222 of Public Law 108–375, and that operates directly or indirectly
                                                                                                     in the United States or any of its possessions, until such time as the
                                                                                                     Secretary of Defense removes such person from such list. This definition
khammond on DSKJM1Z7X2PROD with PRESDOC




                                                                                                     shall apply regardless of whether the Secretary of Defense must provide
                                                                                                     the report described in section 1237(b)(2) of Public Law 105–261, as
                                                                                                     amended by section 1233 of Public Law 106–398 and section 1222 of
                                                                                                     Public Law 108–375; or
                                                                                                      (iii) any person that the Secretary of the Treasury publicly lists as meeting
                                                                                                      the criteria described in section (a)(ii) of this section, or publicly lists
                                                                                                      as a subsidiary of a person already determined to be a Communist Chinese


                                          VerDate Sep<11>2014   22:53 Jan 15, 2021   Jkt 253250   PO 00000   Frm 00001   Fmt 4705   Sfmt 4790   E:\FR\FM\19JAE0.SGM   19JAE0
                                                                      Case 1:21-cv-00280-RC Document 9-2 Filed 02/05/21 Page 3 of 3
                                               4876               Federal Register / Vol. 86, No. 11 / Tuesday, January 19, 2021 / Presidential Documents

                                                                                                     military company, until the Secretary of the Treasury determines that
                                                                                                     such person no longer meets that criteria and removes such person from
                                                                                                     such list.’’
                                                                                                   Sec. 3. Section 4(e) of Executive Order 13959 is amended to read as follows:
                                                                                                     ‘‘(e) the term ‘‘transaction’’ means the purchase for value, or sale, of
                                                                                                   any publicly traded security; and’’.
                                                                                                   Sec. 4. General Provisions. (a) Nothing in this order shall be construed
                                                                                                   to impair or otherwise affect:
                                                                                                     (i) the authority granted by law to an executive department or agency,
                                                                                                     or the head thereof; or
                                                                                                     (ii) the functions of the Director of the Office of Management and Budget
                                                                                                     relating to budgetary, administrative, or legislative proposals.
                                                                                                     (b) This order shall be implemented consistent with applicable law and
                                                                                                   subject to the availability of appropriations.
                                                                                                     (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                   substantive or procedural, enforceable at law or in equity by any party
                                                                                                   against the United States, its departments, agencies, or entities, its officers,
                                                                                                   employees, or agents, or any other person.




                                                                                                   THE WHITE HOUSE,
                                                                                                   January 13, 2021.


                                               [FR Doc. 2021–01228
                                               Filed 1–15–21; 8:45 am]
                                               Billing code 3295–F1–P
khammond on DSKJM1Z7X2PROD with PRESDOC




                                                                                                                                                                                      Trump.EPS</GPH>




                                          VerDate Sep<11>2014   22:53 Jan 15, 2021   Jkt 253250   PO 00000   Frm 00002   Fmt 4705   Sfmt 4790   E:\FR\FM\19JAE0.SGM   19JAE0
